JARVIS, DANA M. Albers
Schedule of Unexplained Source of Funds 1-19-07
Calendar Years 1999 - 2005

Bank Deposits:
Bank of America #002064492265 - CRB Payroll $68,977.14 $120,067.29 $73,253.85 $96,211.07 $88,098.11 $51,197.46 $7,869.09 $505,674.01
Bank of America #002064192936 - CRB Operating $298,139.10 $272,477.10 $322,233.49 | $276,160.27 $195,796.72 $113,602.74 $2,674.20 $1,481 ,083.62
Bank of America #0011-1122-8357 - Dana Jarvis Chk $6,460.46 | $100,822.50 $54,332.97 $27,629.96 $189,245.89
Bank One #4045-5157 - Dana Jarvis Savings $5,533.31 $4,934.89 $160.96 $27.96 $31.60 $4,995.54 $17,898.44 $33,582.70
Bank One #661565861 - D. Jarvis/M. Kerwin Chk $26,788.97 $570.00 $27,358.97
Bank One #689832822 - Dana Jarvis Checking $14,750.00 $14,750.00
First State Bank #1223801 - Dana Jarvis Savings $16,201.52 $20,184.36 $36,798.44 $81,744.18 $38,661.83 $32,940.62 $46,855.56 $273,386.51
First State Bank #1874527 - Dana Jarvis Chk $49,551.80 $92,330.96 $76,347.22 $116,772.94 $335,002.92
Community Bank #271021353 - D.Jarvis/D.Fitzner Chk $7,579.75 $3,304.31 $10,884.06
Total Deposits $402,891.28 $521,790.45 $486,779.71 $531,325.24 $414,919.22 $305,872.55 $207,390.23 $2,870,968.68
Plus:
Cash Expenditures Itemized $33,463.11 $21,052.50 $4,541.85 $8,222.88 $6,920.98 $1,205.17 $4,599.68 $80,006.17
Petty Cash Ledger/Account $342,918.23 $269,481.75 $82,760.00 $1,585.00 $100.00 $696,844.98
Money Order payments to Charter Bank for 1440 Calle
Cielo Vista mortgage (Exh. 68, Pgs. 80-89) $1,152.00 $4,122.48 $5,274.48
Cash given to Barbara Hanna (DEA6; $150K Seized on

18/25/05) $200,000.00 $200,000.00
Cash Seizures - Ayla Jarvis 10/28/04 (DEAS) $287,210.00 $287,210.00
Cash Seizures - Geno Berthod 3/25/05 (DEAS) $233,830.00 $233,830.00
Cash Seizures - Jude Austin 12/18/01 (Texas DPS
Report) $400,000.00 $400,000.00
Purchase of Cessna N3AJ (Cash pmts to Dan Roach -
See Memo of Conv. Dated 8-30-05) $45,000.00 $45,000.00
Cashier's Check from Century Bank to Close Refi on 1440
Calle Cielo Vista - 4/16/02 (Exhibit #28, 3) $1,312.17 $1,312.17
Down pmt on 13 Enebro Rd - 8/2/01 ($20K Official Check
less $15K W/D from 1St State Bank #1223801 - Exhibit
#13; Exh. #56, Pg. 56) $5,000.00 $5,000.00

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Loan repayment to Barbara Hanna in 2005 $5,000.00 $5,000.00
Continental Stee! checks to Santa Fe Consulting (a/k/a
Dana Jarvis during 2/05 and 7/05) $2,750.00 $2,750.00
Cash Payments to RC Aviation $65,389.55 $59,666.96 $125,056.51

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JARVIS, DANA

M. Albers

Schedule of Unexplained Source of Funds 1-19-07
Calendar Years 1999 - 2005

Less:
Reported Income (Per Form 1040): (No Return Filed)
Interest Income $4,526.00 $7,249.00 $6,783.00 $6,044.00 $4,965.00 $3,026.00 $0.00 $32,593.00
Dividends $1,502.00 $3,506.00 $4,059.00 $2,856.00 $2,897.00 $1,584.00 $0.00 $16,404.00
Taxable Refunds $39.00 $13.00 $13.00 $0.00 $0.00 $0.00 $65.00
Installment Sale Income $8,129.00 $980.00 $1,630.00 $2,527.00 $2,113.00 $2,385.00 $0.00 $17,764.00
Rental Income & Trust Income $4,221.00 $857.00 $1,057.00 $670.00 $17,930.00 $8,375.00 $0.00 $33,110.00
Schedule C Gross - Bar $323,739.00 $340,251.00 $356,273.00 | $364,251.00 $253,045.00 $162,440.00 $0.00 $1,799,999.00
Schedule C Gross - Pool Tables $16,240.00 $15,068.00 $13,920.00 $13,695.00 $12,248.00 $9,022.00 $0.00 $80,193.00
Less:
Cash Expenditures reflected in Petty Cash Ledgers) $33,463.11 $21,052.50 $4,541.85 $1,585.00 $100.00 $0.00 $0.00 $60,742.46
Proceeds from Evergreen property (Dep into 1st St.
Bank...4527 on 6/24/05; Exh. N-201, Pg. 488) $56,208.47 $56,208.47
Refund Deposit on 13 Enebro - 6/20/01 (Redeposited into
BofA...8357; Exhibit 13) “ $5,000.00 |. $5,000.00
Refinance of 1440 Cielo Vista - 8/22/00 (Deposited into
BofA...8357 on 9/1/00 - Exh. #3) $60,240.90 . $60,240.90
Cash W/Ds from Bank (up to:cash deps) $12,183.00 $10,500.00 $37,344.33 $12,987.00 $5,579.33 $4,163.28 $14,330.00 $97,086.94
Bank Transfers included in deposits $20,750.00 $77,400.00 $50,121.11 $72,225.06 $97,399.00 _ $65,038.32 $86,225.00 $469,158.49
Schedule of Non-income Deposits $3,687.16 $9,644.28 $23,902.05 $43,220.33 $6,354.13 | $16,932.33 $32,951.15 $136,691.43
Missing Deposits $89,667.89 $298.58 $3,657.52 $9,197.01 $6,073.50 $0.00 $2,570.00 $111,464.50
Difference:
Unexplained Source of Funds Available $262,277.46 $529,640.82 $475,779.70 $11,862.72 $13,236.24 $431,711.34 $320,952.25 $2,045,460.53

(1) Backed out cash expenditures up to amount included as additional source of funds from petty cash ledgers, since a majority of these expenses are deductions from the petty cash ledgers.

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